      Case 1:21-cr-00117-DMT            Document 150     Filed 10/24/22     Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,           )
                                    )
              Plaintiff,            )       ORDER
                                    )
       vs.                          )
                                    )
Matthew Volesky,                    )       Case No. 1:21-cr-117
                                    )
              Defendant.            )


       On October 24, 2022, the court issued an order conditionally releasing defendant pending

trial. (Doc. No. 149). Defendant shall have until November 4, 2022, contact the United States

Marshal at (701) 333-0660 to arrange for processing.

       IT IS SO ORDERED.

       Dated this 24th day of October, 2022.

                                                   /s/ Clare R. Hochhalter
                                                   Clare R. Hochhalter, Magistrate Judge
                                                   United States District Court
